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11
12                         UNITED STATES DISTRICT COURT

13          CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION

14 RAHUL SAWHNEY, individually and                 Case No.    2:24-cv-8866
15 on behalf of all others similarly situated,
16                           Plaintiff,            CLASS ACTION COMPLAINT
17          v.
18                                                 JURY TRIAL DEMANDED
      AXS GROUP LLC,
19
                             Defendant.
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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1           Plaintiff Rahul Sawhney brings this action on behalf of himself, and all others
2     similarly situated against AXS Group LLC (“AXS” or “Defendant”). Plaintiff
3     makes the following allegations pursuant to the investigation of his counsel and
4     based upon information and belief, except as to the allegations specifically pertaining
5     to himself, which are based on personal knowledge.
6                                 NATURE OF THE ACTION
7           1.     For over two years, Defendant has been nickel and diming New Yorkers
8     buying tickets to various entertainment events in the state of New York in violation
9     of New York Arts & Cultural Affairs Law § 25.07(4) (“ACAL”). When a consumer
10    browses Defendant’s AXS.com website or AXS mobile application, he or she is
11    quoted a fee-less price, only to be ambushed with hefty service charge at the final
12    checkout screen after clicking through the various screens required to make a
13    purchase. This cheap-trick—sometimes referred to as drip-pricing—enables
14    Defendant to swindle substantial sums of money from their customers.
15          2.     To stop this hustle, in the summer of 2022, New York lawmakers
16    passed Arts and Cultural Affairs Law § 25.07(4), which provides that “every
17    platform that facilitates the sale or resale of tickets … shall disclose the total cost of
18    the ticket, inclusive of all ancillary fees that must be paid in order to purchase the
19    ticket.” “Such disclosure of the total cost and fees shall be displayed in the ticket
20    listing prior to the ticket being selected for purchase.” Id. (emphasis added). And
21    “[t]he price of the ticket shall not increase during the purchase process.” Id. This
22    latest version of the law went into effect August 29, 2022. See Exhibit A.
23          3.     For these reasons, Plaintiff seeks relief in this action individually, and
24    on behalf of all other ticket purchasers for events in the state of New York for actual
25    and/or statutory damages, reasonable attorneys’ costs and fees, and injunctive relief
26    under New York Arts and Cultural Affairs Law § 25.33.
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                              1
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1                                JURISDICTION AND VENUE
2           4.     This Court has subject matter jurisdiction over this action pursuant to 28
3     U.S.C. § 1332(d) because there are more than 100 class members, and the aggregate
4     amount in controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs,
5     and at least one class member is a citizen of a state different from Defendant.
6     Defendant sold at least 100,000 tickets to various places of entertainment in the state
7     of New York through its website or mobile application using the AXS Marketplace
8     feature during the applicable class period, and is liable for a minimum of fifty dollars
9     in statutory damages (or more in actual damages) for each ticket sold.
10          5.     This Court has personal jurisdiction over Defendant because it maintains
11    its principal place of business in California.
12          6.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
13    Defendant’s principal place of business is located in this District.
14                                           PARTIES
15          7.     Plaintiff Rahul Sawhney is an individual consumer who, at all times
16    material hereto, was a citizen and resident of Port Washington, New York. On
17    October 2, 2024, Plaintiff purchased a ticket to see an October 11, 2024 Brett Young
18    concert through Defendant’s website, AXS.com using the AXS Marketplace. The
19    transaction flow process he viewed on Defendant’s website was substantially similar
20    as that depicted in Figures 1-12 of this Complaint.
21          8.     AXS Group LLC is a Delaware limited liability company with its
22    principal place of business in 425 West 11th Street, Suite 100, Los Angeles,
23    California 90015. AXS owns and operates the AXS.com website and AXS mobile
24    application, which is a platform used to sell tickets to entertainment events taking
25    place in the state of New York.
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                           2
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1                         RELEVANT FACTUAL ALLEGATIONS
2           9.     When a consumer visits the AXS.com website, on the main page, he can
3     select various entertainment events in the state of New York or filter events by those
4     taking place in New York. See Figure 1, below.
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21                                          Figure 1

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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        3
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1           10.   A consumer can also click on the magnifying glass button on the screen
2     above to search for an event in New York. If a baseball fan searches for “Yankees,”
3     he sees a list of upcoming games. See Figure 2.
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14                                          Figure 2
15          11.   After a consumer selects a particular game, he or she is taken to the
16    AXS Marketplace screen to purchase resale tickets. See Figure 3.
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26                                          Figure 3
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        4
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1           12.    If a consumer clicks the “VIEW TICKETS” button, he or she is taken to
2     a “SELECT YOUR TICKETS” screen that has list of prices for the various seat
3     around the venue—in this case, Yankee Stadium. See Figures 4 and 5.
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15                                             Figure 4
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            13.    However, these are not accurate ticket prices, because they fail to
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      disclose the total cost of the ticket, inclusive of all ancillary fees that must be paid, in
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                              5
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1     violation of New York Arts & Cultural Affairs Law § 25.07(4). This is confirmed
2     when a consumer actually selects a particular ticket for purchase on this “SELECT
3     YOUR TICKETS” screen. If a consumer selects the Grandstand Outfield 432A,
4     Row 1 ticket and clicks the “$169.00” button on Figure 6, he or she is taken to a
5     ticket review page that shows the total cost of the ticket is actually “$169.00 + Taxes
6     & Fees.” See Figures 6 and 7, below.
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                                             Figure 6
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26                                           Figure 7

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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         6
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1            14.    This screen also plainly violates New York law. “Every… platform that
2     facilitates the sale or resale of tickets shall disclose the total cost of the ticket,
3     inclusive of all ancillary fees that must be paid in order to purchase the ticket …
4     prior to the ticket being selected for purchase.” N.Y. Arts & Cult. Aff. Law § 25.07
5     (4). These screens plainly fail to do so. Worse yet, by bundling its service charge
6     under the misleading label of “Taxes & Fees,” Defendant also fails to “disclose in a
7     clear and conspicuous manner the portion of the ticket price stated in dollars that
8     represents a service charge, or any other fee or surcharge to the purchaser.” Id.
9            15.    After the consumer clicks the Checkout button, a “Sign In” widget
10    pops-up prompting the consumer to either sign in or create an account. See Figures
11    8-10, below and next page. The “Create Account” screen requires the consumer to
12    input their information and scroll to the bottom of the screen to click the “Create
13    Account” button. Id.
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                                                Figure 8
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                             7
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15                                        Figure 9
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                                         Figure 10
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                 8
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1            16.     After a consumer either clicks the “Sign In” or “Create Account”
2      buttons in Figures 9 or 10 above, he or she is taken to the final “CHECK OUT”
3      screen, where the “total cost” of the tickets is disclosed for this first and only time.
4      See Figure 11, below. To make matters even worse, this final screen confirms that
5      the prior screen’s representation of that the total price was “$169.00 + Taxes & Fees”
6      was both false and misleading, because no “Taxes” are charged at all.
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21                                             Figure 11

22           17.    To complete the transaction, the site requires the consumer to click the

23     “I agree to the sales terms and conditions” checkbox above the “PLACE ORDER”

24     button. See Figure 11. Because the dark blue color appears muted, it is difficult to

25     distinguish from the surrounding text and makes it difficult to discern whether it

26     contains a hyperlink. In any event, if a consumer does click on the hyperlink, he or

27     she receives an error message. See Figure 12, next page.

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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                               9
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7                                            Figure 12
8            18.   Days after Plaintiff’s counsel began soliciting prospective clients,
9      Defendant appears to have modified the hyperlink so that it now displays other sales
10     terms, beyond those specifically enumerated in the text block next to the “I agree”
11     checkbox.
12           19.   The ticket purchase flow remains substantially the same for users of the
13     AXS mobile phone application and also violates New York law. See below.
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27             Figure 13                    Figure 14                     Figure 15
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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                          10
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13             Figure 16                   Figure 17                    Figure 18
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27              Figure 19                  Figure 20                    Figure 21
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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                   11
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                   Figure 22                   Figure 23                      Figure 24
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16
                   Drip Pricing Tricks Consumers Into Overpaying For Tickets
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             20.     AXS is one of many online ticket exchange platforms—like
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       Ticketmaster, Eventbrite, or Tick Pick—that offer consumers the ability to purchase
19
       tickets to entertainment events online, via its website or its mobile application.
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             21.     “Drip pricing” is a type of bait-and-switch pricing method that refers to
21
       “the practice of advertising only part of a product’s price upfront and revealing
22
       additional charges later as consumers go through the buying process.”1
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             22.     Behavioral economists largely agree that drip pricing causes consumers
24
       to overpay, by exploiting people’s drive to complete a commenced purchase.2 By
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26     1
         Mary W. Sullivan, Fed. Trade Comm’n, Econ. Analysis of Hotel Resort Fees
27     (2017), https://www.ftc.gov/reports/economic-analysis-hotel-resort-fees.
       2
         Steffen Huck & Brian Wallace, The impact of price frames on consumer decision
28     making: Experimental evidence, at 1-3 (Oct. 15, 2015).

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1      luring people into a transaction with an artificially low price, a website designer can
2      create a sense of commitment from the consumer to the transaction. By making the
3      consumer click through several screens, the website designer forces the consumer to
4      invest time into the transaction. After a seller has introduced surprise fees on the
5      final screen, assuming the consumer even notices the fees, the consumer will still be
6      reticent to leave due to a sense they will incur a loss by abandoning the transaction.
7                          New York Bans Drip Pricing In Ticket Sales
8             23.    Effective August 29, 2022, New York enacted Arts & Cultural Affairs
9      Law § 25.07(4), which provides that “any licensee or other ticket reseller, or
10     platform that facilitates the sale or resale of tickets shall disclose the total cost of the
11     ticket, inclusive of all ancillary fees that must be paid in order to purchase the ticket,
12     and disclose in a clear and conspicuous manner the portion of the ticket price stated
13     in dollars that represents a service charge, or any other fee or surcharge to the
14     purchaser. Such disclosure of the total cost and fees shall be displayed in the ticket
15     listing prior to the ticket being selected for purchase.” Id. (emphasis added). And
16     “[t]he price of the ticket shall not increase during the purchase process.” Id.;
17     Compare with Figures 4-7 and 11. “Disclosures of subtotals, fees, charges, and any
18     other component of the total price shall not be false or misleading.” N.Y. Arts &
19     Cult. Aff. Law § 25.07(4); Compare with Figure 7 and ¶ 17.
20            24.    Shortly after the law was enacted, ticketing websites peppered the State
21     of New York’s Division of Licensing Services with questions about the scope of the
22     law. As explained by the Division of Licensing Services, “the ticket purchasing
23     process begins once a consumer visits a ticket marketplace and first sees a list of seat
24     prices.” See N.Y. Dep’t of State, Div. Licens. Servs., Request for Additional
25     Guidance – New York State Senate Bill S.9461, attached hereto as Exhibit A, at 1.
26     “From the moment the prospective purchaser assesses the [] ticket lists through the
27     final payment … there should be no price increases to the purchaser for the ticket
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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                             13
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1      itself.” Id. “When a prospective purchaser selects a ticket with full disclosure of the
2      ticket price, the purchaser should not then have to search for the total price of the
3      ticket as the purchaser proceeds through the purchasing process, it should continue to
4      be readily available to the purchaser.” Id. at 2 (emphasis added).
5                               CLASS ACTION ALLEGATIONS
6            25.    Nationwide Class: Plaintiff seeks to represent a class defined as all
7      individuals in the United States who purchased electronic tickets to any place of
8      entertainment within the state of New York from Defendant’s website or mobile
9      application using the AXS marketplace feature on or after August 29, 2022.
10     Excluded from the Nationwide Class is any entity in which Defendant has a
11     controlling interest, and officers or directors of Defendant.
12           26.    New York Subclass: Plaintiff also seeks to represent a subclass defined
13     as all individuals in the state of New York who purchased electronic tickets to any
14     place of entertainment within the state of New York from Defendant’s website or
15     mobile application using the AXS marketplace feature on or after August 29, 2022.
16     Excluded from the New York Subclass is any entity in which Defendant has a
17     controlling interest, and officers or directors of Defendant.
18           27.    Members of the Nationwide Class and New York Subclass are so
19     numerous that their individual joinder herein is impracticable. On information and
20     belief, members of the Nationwide Class and New York Subclass number in the
21     hundreds of thousands and possibly millions. The precise number of Nationwide
22     Class and New York Subclass members and their identities are unknown to Plaintiff
23     at this time but may be determined through discovery. Nationwide Class and New
24     York Subclass members may be notified of the pendency of this action by mail,
25     email, and/or publication through the distribution records of Defendant.
26           28.    Common questions of law and fact exist as to all Nationwide Class and
27     New York Subclass members and predominate over questions affecting only
28
       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                            14
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1      individual Nationwide Class and New York Subclass members. Common legal and
2      factual questions include, but are not limited to: (a) whether Defendant failed to
3      disclose the total cost of the ticket, including all ancillary fees, prior to the tickets
4      being selected for purchase in violation of New York Arts & Cultural Affairs Law §
5      25.07(4); (b) whether the displayed price of Defendant’s tickets increases during the
6      purchase process in violation of New York Arts & Cultural Affairs Law § 25.07(4)
7      (c) whether Defendant’s representation that “Taxes & Fees” would be charged,
8      when, in fact, no Taxes are charged at all, violates New York General Business Law
9      § 349.
10              29.   The claims of the named Plaintiff are typical of the claims of the
11     Nationwide Class and New York Subclass in that the named Plaintiff and the
12     Nationwide Class and New York Subclass sustained damages as a result of
13     Defendant’s uniform wrongful conduct, based upon Defendant’s failure to disclose
14     the total cost of its tickets, including Defendant’s service charges, throughout the
15     online ticket purchase process.
16              30.   Plaintiff is an adequate representative of the Nationwide Class and New
17     York Subclass because his interests do not conflict with the interests of the
18     Nationwide Class and New York Subclass members he seeks to represent, he has
19     retained competent counsel experienced in prosecuting class actions, and he intends
20     to prosecute this action vigorously. The interests of Nationwide Class and New
21     York Subclass members will be fairly and adequately protected by Plaintiff and his
22     counsel.
23              31.   The class mechanism is superior to other available means for the fair
24     and efficient adjudication of the claims of Nationwide Class and New York Subclass
25     members. Each individual Nationwide Class and New York Subclass member may
26     lack the resources to undergo the burden and expense of individual prosecution of
27     the complex and extensive litigation necessary to establish Defendant’s liability.
28
       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                15
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1      Individualized litigation increases the delay and expense to all parties and multiplies
2      the burden on the judicial system presented by the complex legal and factual issues
3      of this case. Individualized litigation also presents a potential for inconsistent or
4      contradictory judgments. In contrast, the class action device presents far fewer
5      management difficulties and provides the benefits of single adjudication, economy of
6      scale, and comprehensive supervision by a single court on the issue of Defendant’s
7      liability. Class treatment of the liability issues will ensure that all claims and
8      claimants are before this Court for consistent adjudication of the liability issues.
9                                           COUNT I
                          New York Arts & Cultural Affairs Law § 25.07
10
                    (On Behalf Of The Nationwide Class and New York Subclass)
11            32.     Plaintiff repeats the allegations contained in the foregoing paragraphs as
12     if fully set forth herein.
13            33.     Plaintiff brings this claim individually and on behalf of the members of
14     the Nationwide Class and New York Subclass against Defendant.
15            34.     Defendant AXS is a “licensee or other ticket reseller, or platform that
16     facilitates the sale or resale of tickets” to a “place of entertainment,” because it owns,
17     operates, and controls the AXS.com website and mobile application, both of which
18     are places where consumers can purchase tickets to places of entertainment. “‘Place
19     of entertainment’ means any privately or publicly owned and operated entertainment
20     facility such as a theatre, stadium, arena, racetrack, museum, amusement park, or
21     other place where performances, concerts, exhibits, athletic games or contests are
22     held for which an entry fee is charged.” N.Y. Arts & Cult. Aff. Law § 25.03(6)
23     (emphasis added). “Entertainment’ means all forms of entertainment including, but
24     not limited to, theatrical or operatic performances, concerts, motion pictures, all
25     forms of entertainment at fair grounds, amusement parks and all types of athletic
26     competitions including football, basketball, baseball, boxing, tennis, hockey, and any
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28
       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                            16
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1      other sport, and all other forms of diversion, recreation or show.” N.Y. Arts & Cult.
2      Aff. Law § 25.03(1) (emphasis added).
3             35.    Defendant violated New York Arts & Cultural Affairs Law § 25.07(4)
4      by failing to disclose the “total cost of a ticket, inclusive of all ancillary fees that
5      must be paid in order to purchase the ticket” after a ticket is selected, as depicted in
6      Figures 4 through 7 of this Complaint.
7             36.    Defendant also violated New York Arts & Cultural Affairs Law §
8      25.07(4) by increasing the price of its tickets during the purchase process, as
9      depicted in Figures 4-7 and 11 of this Complaint.
10            37.    Defendant’s “service charge” is an “ancillary fee[] that must be paid in
11     order to purchase the ticket.” N.Y. Arts & Cult. Aff. Law § 25.07(4).
12            38.    On October 2, 2024, Plaintiff a ticket to see Brett Young in concert on
13     Defendant’s website, AXS.com, using AXS marketplace, and was forced to pay
14     Defendant’s service charge. Plaintiff was harmed by paying this unlawfully applied
15     service charge. Because the total cost of the ticket was not disclosed to Plaintiff at
16     the beginning of the purchase process, the resulting service charge that was applied
17     is unlawful pursuant to New York Arts & Cultural Affairs Law § 25.07(4).
18            39.    Plaintiff was also harmed by not having the total cost of his tickets
19     disclosed upfront at the start of the purchase process. By not knowing the total cost
20     of his tickets before Plaintiff selected his tickets for purchase from Defendant,
21     Plaintiff could not shop around for tickets from other ticket sellers like EventBrite, or
22     Tick Pick, just to name a few. As such, Plaintiff had no way of knowing whether he
23     was getting the best deal his money could buy. By hiding its service charges,
24     Defendant was able to reduce price competition and cause consumers like Plaintiff to
25     overpay.
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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                               17
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1            40.    Plaintiff and Class members relied on Defendant’s false and misleading
2      representations that the cost of the tickets did not include fees in choosing to
3      purchase their tickets.
4            41.    Defendant’s aforementioned deceptive practices tricked Plaintiff and
5      Class members into paying Defendant’s exorbitant service charges. But for
6      Defendant’s deceptive trade practices, Plaintiff and class members would have either
7      bought tickets from another ticket seller or reseller, or been willing to pay
8      substantially less for them. Had Defendant transparently disclosed it charges hefty
9      service charges, Plaintiff and Class members likely would have purchased tickets to
10     the exact same event from another website, like TickPick or MegaSeats, which do
11     not charge any service fees. See, e.g., https://www.tickpick.com/;
12     https://www.megaseats.com/. According to TickPick, “[t]he first price you see for a
13     ticket on TickPick is the price charged for that ticket[,]” which does not include
14     “hidden fees, ever.”3
15           42.    At the time Plaintiff purchased his tickets, he was not aware that
16     Defendant’s service charge was unlawful under the New York Arts & Cultural
17     Affairs Law. Plaintiff was not browsing websites in search of legal violations and,
18     indeed, had no pre-existing relationship with his counsel prior to purchasing his
19     tickets. Plaintiff was instead browsing Defendant’s website because he sincerely
20     intended to purchase tickets, and he did, in fact, purchase those tickets.
21           43.    On behalf of himself and members of the Nationwide Class and New
22     York Subclass, Plaintiff seeks to enjoin the unlawful acts and practices described
23     herein, to recover his actual damages or fifty dollars, whichever is greater, and
24     reasonable attorneys’ fees. See N.Y. Arts & Cult. Aff. Law § 25.33.
25
26
27     3
        TickPick LLC, Comment Letter on Proposed Rule on Unfair or Deceptive Fees
28     (Nov. 9, 2023), https://www.regulations.gov/comment/FTC-2022-0069-6078.

       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         18
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                                             COUNT II
1
                              Violation of General Business Law § 349
2                             (On Behalf Of The New York Subclass)
3             44.    Plaintiff repeats the allegations contained in the foregoing paragraphs as
4      if fully set forth herein.
5             45.    Plaintiff brings this claim individually and on behalf of the members of
6
       the Nationwide Class and New York Subclass against Defendant.
7
              46.    New York’s General Business Law § 349 prohibits deceptive acts or
8
       practices in the conduct of any business, trade, or commerce.
9
              47.    Defendant committed deceptive acts and practices by misleadingly and
10
       deceptively obscuring the itemization of the extra charges it adds to its ticket prices.
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              48.    Defendant committed deceptive acts and practices by misleadingly and
12
       deceptively hiding its “service charge” under the label of “Taxes & Fees” while
13
       charging no tax, and by hiding the itemization of the extra charges added to the
14
       tickets’ prices. Accordingly, Plaintiff and members of the Class and Subclass were
15
       misled into believing that the extra charges added to the ticket price were
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       representative of taxes and fees, when in actuality, only a “service charge” was
17
       added.
18
              49.    Worse yet, Defendant never affirmatively discloses on the final
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       checkout screen that the amount of Tax charged is $0, so consumers do not notice
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       that the original “Taxes & Fees” representation was false and misleading.
21
              50.    Defendant’s deceptive acts and practices were directed at consumers.
22
              51.    Defendant’s deceptive acts and practices are misleading in a material
23
       way because they deliberately make the itemization of extra charges harder to notice,
24
       and fundamentally misrepresent the additional costs imposed by Defendant on ticket
25
       purchasers by masking Defendant’s “service charge” as, in part, a tax on the ticket
26
       purchase.
27
28
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             52.    As a direct and proximate result of Defendant’s false, misleading, and
1
2      deceptive representations, Plaintiff and members of the Class and Subclass were

3      injured in that they would not have purchased the tickets, or would have paid

4      substantially less for them, but for Defendant’s obfuscation of the extra charges in a

5      misleading “Taxes & Fees” representations.

6            53.    On behalf of himself and the New York Subclass, Plaintiff seeks to

7      recover their actual damages or fifty dollars per violation, whichever is greater, three

8      times actual damages, and reasonable attorneys’ fees.

9                                      PRAYER FOR RELIEF
10           WHEREFORE, Plaintiff, individually and on behalf of the members of the
11     Nationwide Class and New York Subclass, prays for judgment as follows:
12           (a)    For an order certifying the Classes under Rule 23 of the Federal Rules
13                  of Civil Procedure and naming Plaintiff as representative of the Classes
14                  and Plaintiff’s attorneys as Class Counsel to represent the Classes;
15           (b)    For an order declaring that Defendant’s conduct violates the statutes
16                  referenced herein;
17           (c)    For an order finding in favor of Plaintiff and the Classes on all counts
18                  asserted herein;
19           (d)    For compensatory and statutory damages in amounts to be determined
20                  by the Court and/or jury;
21           (e)    For prejudgment interest on all amounts awarded;
22           (f)    For an order of restitution and all other forms of equitable monetary
23                  relief;
24           (g)    For injunctive relief as pleaded or as the Court may deem proper; and
25           (h)    For an order awarding Plaintiff and the Classes their reasonable
26                  attorneys’ fees and expenses and costs of suit.
27
28
       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         20
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1      Dated: October 15, 2024              Respectfully submitted,
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                                                            Stefan Bogdanovich
4
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